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                             Exhibit 18
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Hells Angels Shootout
EDITORIAL STAFF (HTTPS://WWW.PHOENIXMAG.COM/AUTHOR/ESTAFF/) | October 1, 2011


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Like most of their immediate neighbors in the sparse high-desert town of Chino Valley, Arizona,
the Schafmans were familiar with the two-story stucco house opposite their multi-acre property
on Yuma Drive. How could they not be? For many years, it was a well-traf cked Hells Angels
hangout. Members of the colorfully named Skull Valley chapter, which was the Angels’ main
garrison in north-central Arizona until disbanding in 2006, used it as their clubhouse. A biker still
lived there, but he was ailing and in rm, tethered to oxygen tanks and a motorized scooter. The
house – which once roared with all-night bacchanals and eets of hard-revving Harleys – had
been silent for years.


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Less well known
            Case to the good people of Document
                 3:17-cr-00533-EMC     Yuma Drive  were theFiled
                                                1084-19     occupants   of aPage
                                                                 06/29/20   house3 about
                                                                                   of 29 300 yards
down the road. Michael Diecks and his wife, Leslie, had recently moved into the single-family
home with their three children – an unremarkable arrangement if not for the fact that Diecks,
also known as “Mad Dog Mike,” was a full-patch member of the Vagos motorcycle club.

The Hells Angels and Vagos – also known as “Green Nation” in the outlaw-biker world for their
signature color – have a chippy history, to put it mildly. As so-called “one-percenter” MCs, they
emerged from the same amniotic Southern California/Inland Empire biker culture to become
bitter rivals, with the Angels playing the proud, powerful incumbents to the Vagos’ motivated
upstarts. They’ve brawled hard and often. Over territory. Over nasty remarks. Over whatever.

“They’ve been going at it since the late ’60s,” according to      phm1011hellsangels 2
Steve Trethewy, a former Arizona Department of Public
Safety (DPS) of cer who served 25 years on the                  lg
department’s anti-gang unit. “They’ll ght, then go             Photos by Jason Koster
dormant, then ght again, then patch things up. It’s all
about power and territory.”

Had they been privy to this information, the citizens of Chino Valley might have been less startled
by the pop-pop sound of gun re that raked across Yuma Drive on Saturday, August 21, 2010,
shortly after noon. In an instant, their grassy, wide-open neighborhood took on the guise of a
Waziristan warzone. The Schafmans – who declined comment for this article – told investigators
they heard “approximately 100 shots red” during the 10-minute gun ght, but of cial estimates
put the number closer to 50. The battle left ve bikers wounded, netted 27 arrests and resulted in
nine indictments. One year after the melee, virtually everything else about the case, which has
yet to go to trial, is still in dispute. The Yavapai County Attorney accepts the Vagos’ account of
the incident – in essence, that the Hells Angels red on them unprovoked as they rode past the
two-story stucco house, triggering the fusillade – while the Hells Angels and their attorneys
broadly maintain that it was an ambush on the part of the Vagos.

For the actors involved, the who-shot- rst question is paramount. For the rest of us, not so much.
In fact, in a case that stokes age-old questions about Arizona’s most powerful bike club, hints at a
potentially violent restructuring of the outlaw-biker pecking order and – pursuant to court
documents obtained by PHOENIX magazine – reveals provocative details about the crime-
 ghting methodology of Arizona’s anti-gang units, the question of which band of well-armed
hombres shot rst seems mostly academic.

By most accounts, outlaw-biker af liation is on the rise in Phoenix and elsewhere. So the more
pressing question is: Will it happen again? And where?

As dozens of Yavapai Sheriff’s Of ce and DPS vehicles swarmed the neighborhood of Yuma Drive
shortly after the shooting, a Vagos biker on the scene described the aftermath in no uncertain
terms:

“We’re in a war.”                                                                                   /
“We’re not aCase
             gang,”  Michael Koepke, seated
                  3:17-cr-00533-EMC         in his1084-19
                                      Document     lawyer’s Filed
                                                            of ce,06/29/20
                                                                   says evenly.
                                                                            Page“People
                                                                                  4 of 29always slap
that thing on us. We’re about brotherhood and riding bikes. And that’s it.”

Well-groomed, t and articulate, Koepke is part of the Hells Angels’ new guard. Even with his
wrist-to-wrist tattoos, the 28-year-old ex-Army infantryman and aspiring Muay Thai prize- ghter
seems more Team America than America’s Most Wanted. If he traded in the leather cuts for a pair
of pleated wool slacks, Koepke could pass for a lawyer himself.

He’s also one of the six men – all associated with the Hells Angels’ Arizona Nomads chapter –
facing prison time for the Chino Valley shootout, on a menagerie of charges ranging from
aggravated assault to disorderly conduct with a weapon.


  phm1011hellsangels                      Koepke’s objection to the “gang” label isn’t just a matter
                                          of semantics; in fact, it carries very tangible legal
3 lg                                      consequences for the 2,500-member-strong worldwide
                                          organization. Arizona’s law enforcement entities –
Members of the Hells Angels Arizona       including its anti-gang task force, the multi-agency Gang
Nomads chapter gather in Chino            & Immigration Intelligence Team Enforcement Mission
Valley, where last year’s shootout with   (GIITEM) – classify the Hells Angels as a criminal street
rival bikers the Vagos erupted.           gang, which means courts can apply enhanced sentencing
                                          to lawbreakers. Simple assault becomes a multi-year
                                          stretch in prison. A bar ght becomes “felony riot.”

The Angels dispute the criteria. They claim to be mischaracterized and misunderstood, victims of
a zealous law enforcement camp bent on crushing their authority-averse lifestyle.

Of course, the gang stigma is nothing new for the Hells Angels; it has faithfully accompanied
them since the club’s earliest days in the Southern California steel town of Fontana, circa 1948,
even as they grew into the world’s biggest and most recognized biker entity. Certainly, they can
seem like a gang, with their iconic death-head patches and hard-as-nails mystique, but members
readily tick off reason after reason why the “gang” descriptor doesn’t t. Disavowing the stigma
has itself become something of an institutional passion for the bikers; a sort of sacred
incantation, like stone-writ Druidic verse. Certainly, the Angels’ larger-than-life reputation can
salt the impressions of law enforcement personnel. Last November, Yavapai County Sheriff’s
Of ce Detective David Zavos – the lead investigator in the Chino Valley case – offered a grand
jury the following impressionistic analysis of the combatants: “The Vagos, for the most part, are
not a real aggressive gang. They are somewhat family oriented, opposed to the Hells Angels, who
are more into criminal enterprise.”

That makes Koepke shake his head. “Family oriented. I’m not sure what that means. I have a 1-
year-old son and a wife, and I’m totally devoted to them. Doesn’t that make me family oriented?
I’m not sure what it has to do with anything.”



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Yavapai County
            CaseSuperior  Court Judge William
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                                                                      phm1011hellsangels 4
similar reservations, kicking the original indictments back
to a grand jury after weighing Zavos’ testimony – a short-         lg
lived but signi cant legal victory for the Hells Angels. A        During an August 2010 gun battle in
defense counsel noted that the Vagos and Hells Angels             Chino Valley, the Vagos positioned
have near-identical law enforcement pro les; both appear          themselves on this street corner while
on a Department of Justice list of MCs with suspected             Hells Angels fired from the two-story
involvement in serious crimes such as drug distribution           house in the distance. Police say at
and witness intimidation.                                         least 50 shots were exchanged. Bullets
                                                                  pierced the home (below left). Some
A Vagos member involved in the shootout did not respond           members were shot, but no one died.
to an interview request through an attorney.

From the beginning, the Chino Valley case seemed freighted with special small-town tensions.
Ironically, one of the accused Angels – Larry “Scotty” Scott, a former college football player and
on-again, off-again thoroughbred racehorse owner – previously coached Zavos’ teenage son in
his capacity as the defensive coordinator for a local high school team. “[The detective] told me my
days as a coach were done,” Scott, who has since left the team, alleges.

  phm1011hellsangels 5 lg     Privately, the Angels acknowledge that some of their members break
                              the law, perhaps even at a statistical pace higher than non-bikers.
But they deny that criminal activity is an institutional part of the Hells Angels culture, or that the
club maintains a criminal hierarchy within its ranks, à la the Ma a and other corporatized
criminal rackets. Richard Gaxiola, a Phoenix-based attorney who represents Koepke and has
defended Hells Angels in previous cases, insists that the seven-point Arizona statute for de ning
a criminal street gang is “overly broad” and a “crass gambit for GIITEM to justify government
funding” by turning the Hells Angels into perennial hobgoblins.

“If you look at the street-gang criteria – self-proclamation, of cial clothing or colors, written
correspondence and so on – then the Blue Knights, which are a national law-enforcement
motorcycle club, they’d have to be classi ed a criminal street gang, too,” Gaxiola says. “At the end
of the day, the Hells Angels is nothing more than a group of guys who love to ride motorcycles
and hang out with like-minded individuals. Sure, some of them are knuckleheads, but most have
jobs and wives and kids. Most of them are veterans. They’re stand up guys.”

Though some law enforcement gures acknowledge the Angels’ improved public image over the
years – “I call it their spit-and-polish,” one DPS of cer says – others point to ugly incidents, such
as the murder of 44-year-old party guest Cynthia Yvonne Garcia by three members of the Mesa
chapter in 2001. The Angels disavow the crime. They insist that each of their chapters are semi-
autonomous entities with their own bylaws and values, and that applying the crimes of one
member to the whole club makes as much sense as, say, penalizing the Phoenix PD for a
corruption scandal in the LAPD.



                                                                                                        /
                                    “Everybody
            Case 3:17-cr-00533-EMC Document
  phm1011hellsangels                           is his own
                                            1084-19        man
                                                       Filed    in the Hells
                                                             06/29/20   PageAngels,”
                                                                             6 of 29 one
                                           longtime member says. “Each chapter governs itself.
6 lg                                       That’s what the authorities never understand. I mean,
                                           there’s a chapter back east that doesn’t even let its
“We’re not a gang,” insists Hells Angels   members smoke pot. That’s why those conspiracy charges
member Michael Koepke, holding his         never stick. There’s no conspiracy.”
1-year-old son. “We’re about
brotherhood and riding bikes. And     Naturally, the authorities tend to disagree. “They’re very
that’s it.”                           well structured,” says Trethewy, now a spokesman for the
                                      law-enforcement think tank Rocky Mountain Information
                                      Network. “They have bylaws, they go to meetings and pay
dues, they use trademarks and copyrights, and they commit crime. I’d say that makes them a
criminal organization.”

Trethewy dismisses the “few bad apples” notion, citing a recent internal DPS report that suggests
the majority of the Arizona Hells Angels – who number somewhere around 110 – have rap sheets
that include felony arrests: “That’s not a cross-section of society. I don’t care what you say.”

Still, federal and local authorities have had mixed success making racketeering and conspiracy
charges – the Kanye and Jay Z of anti-organized crime legislation – stick to the Hells Angels over
the years. The ATF’s much-trumpeted, multi-million-dollar Operation Black Biscuit – touted as
“the most successful undercover operation ever pulled against an outlaw motorcycle club” when
it culminated in 2003 – failed to yield any convictions for the 16 Arizona-based bikers charged
with racketeering or running a criminal enterprise.

Black Biscuit initiated the demise of the Skull Valley chapter and temporarily hobbled the
statewide club by jailing several of its top personnel, but in its aftermath, the Arizona Hells
Angels were indistinguishable from their old selves: They were still the unquestioned lords of
Arizona’s outlaw bikerdom.

It was hardly routine for the Hells Angels and the Vagos to have more than two dozen combined
bikers in Chino Valley on the same weekend. The town was no longer an HA chapter seat, and
only one of the Angels charged in the shootout was a Chino Valley resident. Meanwhile, the
Vagos were believed to have only a scattered presence in Yavapai County; most of the suspects
detained after the shooting were visiting from cities such as Kingman, Phoenix and Bullhead City.

So what brought them to Chino Valley if not to ght? Both          phm1011hellsangels 7
clubs have credible alibis. For the Vagos, it was a bring-
your-kids weekend barbecue at the Diecks’ place – a             lg
common enough pastime in the biker world. Meanwhile,           Larry “Scotty” Scott coached football
the Angels were in town to visit Teddy Toth, the ailing ex-    at Chino Valley High School before the
president of the Skull Valley Chapter. Sent to prison          shootout. A Hells Angels prospect at
following the ATF’s Black Biscuit operation several years      the time, he’s since become a full-
                                                               patch member.
                                                                                                   /
prior, Toth had
            Casegotten “off paper,” or released
                 3:17-cr-00533-EMC      Documentfrom parole,Filed
                                                   1084-19  just that weekend.
                                                                  06/29/20 PageAfter
                                                                                 7 of years
                                                                                      29 of state-
mandated biker solitude, he was nally allowed to openly fraternize with his HA confreres.

It was undoubtedly a case of wrong-place, wrong-time, but to understand the tensions that led to
the shootout, one must rst examine the unique history of the Arizona Hells Angels and the band
of Harley-riding, hirsute rogues that preceded them – a club called the Dirty Dozen, which ruled
the state’s biker community from its inception in the late ’60s to its merger with the Hells Angels
in 1997.

Named after the iconic World War II action movie starring Lee Marvin and Jim Brown, the Dirty
Dozen – who numbered about 120 during their peak – offer a useful compare-and-contrast study
with the current Hells Angels. The Cliff Notes version: The Dirty Dozen were several degrees
more ruthless and aggressive, according to longtime member Robert “Chico” Mora, who
“patched-over” to the Hells Angels during the aforementioned merger.

“Oh, we were obnoxious assholes,” Mora cheerfully con des when quizzed about the Dirty Dozen.
“We did terrible, depraved stuff all the time. Don’t get me wrong: The Hells Angels are every bit
as tough. But it was a different culture back then. Much wilder.”

A massive, wise-cracking hulk of a man with the letters
A-R-I-Z-O-N-A tattooed across his belly and a scraggly mane of gray-streaked hair, Mora exudes
Falstaf an delight as he recounts his days as a hell-raising, debauchery-crazed Dozen regular.
There were orgies, brawls, all-night block parties and balls-out Harley sprints across greater
Phoenix.

It was a fast, dangerous life. He points to the extensive scarring on his lower legs where surgeons
stitched together the two limbs, including the blood vessels underneath, in a successful gambit to
save a foot severed in a bike wreck. He was hospitalized for several weeks until the foot healed
and doctors de-conjoined him.



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Photos – From left: Also known as Green Nation, the Vagos motorcycle club was founded in Corona, California, in 1965. According to the DOJ, the club


 boasts approximately 600 members spanning 24 chapters in the U.S., and 10 more chapters in Mexico. In Arizona, they are concentrated in Mohave


County. • Founded in Montebello, California in 1969 by Hispanic Vietnam War veterans, the Mongols M.C. memorably brawled with the Hells Angels in


 the deadly Laughlin, Nevada, riot of 2002. The Latino-majority club is believed to have a tertiary presence in Arizona, including a Mesa chapter that


                                                            hosts its own Facebook page.



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Dirty Dozen lore is full of wild tales. Old timers recall a weekend evening – sometime in the
mid-’80s – when a pair of Dozen bikers cut the fuel lines on a row of rival motorcycles outside a
bar in Mesa, creating a sort of daisy chain of ammable spillage. They then lit a makeshift fuse,
inducing a spectacular inferno that they admired while munching on Jumbo Jacks down the
street.

So the Dozen were hard-core. They were also intensely territorial, boldly confronting and
intimidating any rival club that failed to recognize their primacy in Arizona. In the early 1980s,
Mora himself served just more than three years in Florence State Prison for the shooting deaths of
two members of Bad Company – an outlaw bike gang based in New Mexico that was attempting to
set up a chapter in the old mining town of Globe. Mora – who was president of the Dirty Dozen’s
Globe chapter at the time – claims that the Bad Company bikers were harassing members of the
community and “acting like jerks.”

Mora summoned the two bikers to a popular roadhouse in Globe, where he laid out his
ultimatum. “I told them to behave themselves,” Mora recalls. “And respect my authority. Then
one of them pulled a gun on me. So I defended myself.”

The Vagos were another out-of-state club that attempted to plant a ag in Arizona during the
Dirty Dozen reign, according to Trethewy. In 1990, the Vagos even managed to start a Phoenix
chapter in the heart of Dirty Dozen territory, led by a biker named Don “Arizona Don” Halterman.

The honeymoon period was brief.

“From what we know, that was the rst time [the Dirty Dozen] and the Vagos squared off,”
Trethewy says. “There was some shooting and pipe-bombs. Somebody put a pipe-bomb on
Arizona Don’s front door. That was it. There was too much heat on them. The Vagos left
Phoenix.”

For the next seven or eight years, the Dozen ran a tight ship in Arizona. They also won the respect
of seminal Hells Angels organizer Sonny Barger, who served out a four-year federal conspiracy
conviction in Arizona from 1988 to 1992. By all accounts, Barger – who later moved to Cave Creek
– took a serious shine to Arizona during his incarceration, which could only have facilitated
matters when the Dirty Dozen weighed the Angels’ offer of a friendly merger. In effect, the Dirty
Dozen would be trading in their double-six dice emblem for the Angels’ trademarked death-head
skull patch.


 phm1011hellsangels                     In 1997, members of the two clubs convened in the HA
                                        clubhouse in Oakland – a converted Arthur Murray dance
10 lg                                   studio, of all things – and the patch-over was consecrated.
                                        The bene ts for both clubs were manifest. On one hand,
Hells Angel Kevin Christensen           the Hells Angels acquired a big, geographically critical
suffered a gunshot wound in the Chino   state with lots of wide-open roads and no serious rivals,
                                        thanks to the Dozen’s cleansing efforts. Conversely, the /
Valley brawl.Case  3:17-cr-00533-EMC
              He’s also                    former Dirty
                        one of six bikers Document      DozenFiled
                                                     1084-19   bikers scored instant
                                                                    06/29/20  Page 9prestige
                                                                                     of 29 as
facing prison time for the melee.          members of the most powerful and recognizable brand in
                                           the biker world – the death-head patch promised them “a
                                           bigger playground,” in the words of Mora.

It also meant embracing the Hells Angels’ more image-savvy and disciplined ethos. According to
Mora, the stereotype of the meth-slinging, brawl-seeking, recklessly hostile Hells Angel is a
vestige of wilder times – something that continues to exist on the pages of Hunter S. Thompson’s
Hell’s Angels: The Strange and Terrible Saga of the Outlaw Motorcycle Gangs, but not in real life.
“I have a three-part gospel for staying the fuck out of prison,” Mora explains. “One: Don’t commit
senseless, needless violence against the citizenry. Two: Don’t sling dope. And three: Don’t print
the government’s money. Follow those rules, and the cops will more or less leave you alone.”

Indeed, there’s an adage in the biker world that the safest neighborhood in any city is the one
with a Hells Angels clubhouse. After all, the Angels don’t tolerate any petty crime in their
immediate sphere and generally endeavor to avoid scrutiny by the authorities.

The Hells Angels-as-neighborhood-watchdog theory may very well have stock – unless they
happen to be having a shootout with the Vagos.

The Chino Valley shootout was not the rst time the Hells Angels and Vagos warred on Arizona
soil. On June 11, 2009, ve members of the Arizona Nomads – a roving Hells Angels chapter with
no of cial clubhouse – allegedly mixed it up with a pair of Vagos at Lazy Harry’s Sunshine Saloon
in Bullhead City near the Colorado River. Two members of a Hells Angels af liate club, the Desert
Road Riders, were also implicated. It was described by DPS as the biggest “in a series of violent
assaults inside several bars” in Bullhead City. Five months later, all seven HA-af liated
combatants were arrested for felony rioting.

The spike in biker hostilities in Bullhead City initially       phm1011hellsangels
puzzled authorities, because members of the Vagos’ Tri-
State chapter – based in the string of river towns where      11 lg
Arizona, California and Nevada meet – had been               The Dirty Dozen ruled Arizona’s biker
operating in northwest Arizona since at least 2000 with      community from the late ’60s until its
relatively little incident, according to Sgt. Ernie Severson merger with the Hells Angels in 1997.
of GIITEM. “I ran the unit for Bullhead City and Lake
Havasu City, and the two gangs mostly kept to themselves,” Severson says. “The Angels let the
Vagos have Havasu. They didn’t really contest it.”

Ultimately, the uneasy peace collapsed. And the reason? Severson believes it was a matter of
patches.

A quick primer on outlaw biker attire: The vests, or “cuts,” favored by most rank-and- le bikers
reveal a deep cache of information about the wearer, via the patches af xed to the front and back
of the garment. The front patches denote personal details like rank, exploits and chapter
af liation. The back patches, or “rockers,” cover the more organizational stuff. The top rocker /
indicates the name
           Case    of the club. The middle
                3:17-cr-00533-EMC            patch1084-19
                                      Document     is the club’s
                                                             Filedemblem:
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                                                                              the case of 29
                                                                                   10 of  the Hells
Angels, the famed, winged death-head; in the case of the Vagos, a muscle-bound caricature of the
Norse god of mischief, Loki, set against a green eld.

The bottom rocker is particularly critical for American outlaw bikers, and the key to the Bullhead
City incidents, in Severson’s opinion: It identi es the wearer’s state of residence. But the
“Arizona” rockers on the bottom of the cuts worn by the Arizona Hells Angels are more than
simple identi ers – they’re also an expression of status; they confer power and authority, and
wearing them is historically a privilege that the most dominant outlaw motorcycle clubs reserve
for themselves.

Mora, the one-time Dirty Dozen capo and current Arizona Hells Angel, says that he and his Dirty
Dozen comrades would scour the streets and bars of Tucson in the early 1990s, looking for rival
bike clubs sporting the “Arizona” rocker. Once they made contact, Mora would issue an
ultimatum: “I told them to lose the rocker. If they refused, we’d cut it off their backs. If they
obeyed, no problem. Let’s have a beer.”

For years, the Vagos in Bullhead City and other parts of Mohave County wore “California” rockers.
That changed about two years ago, Severson says. “Then they started sporting Arizona rockers,
and that’s when the problems started. That’s more than likely what precipitated the ght in
Bullhead City.” Concurrently, the number of Vagos operating in Arizona climbed sharply. Not just
in Bullhead City and Mohave County, where Severson currently counts “15 or more.” Also in
Yavapai County. And in Phoenix.

It was clear to law enforcement that the Vagos – a rising MC with designs on Mexico and the
Southwest – were making a push into Arizona. It seems likely that the Hells Angels noticed, too.


Page Break
The issue of Arizona rockers was potentially a contributing factor in the Chino Valley gun battle.
So was the curious proximity of the Vagos house to Toth’s two-story stucco dwelling. Outlaw
bikers are sensitive to affronts. The Hells Angels could not have been pleased by the symbolic
violation of their turf. Asked to estimate the odds that a full-patch Vagos biker would move within
three doorsteps of the old Skull Valley clubhouse and not know it, one Hells Angels says, “No
chance at all.”

The upshot: Neither side came to Chino Valley on August 21 to brawl, necessarily. But a brawl –
somewhere, sometime – was all but inevitable.

According to documents released by the Yavapai County Attorney’s Of ce in September 2010,
Vagos Tri-State vice president Aurelio Figueroa – who witnessed the shootout – had at least some
inkling of the trouble to come. After the battle, he told a Sheriff’s Of ce detective that he asked a
group of Vagos from the Phoenix area not to attend the Chino Valley get-together, presumably to
avoid a run-in with the Hells Angels, but that ve of them came anyway.

                                                                                                   /
On Friday night, the Vagos posted security
           Case 3:17-cr-00533-EMC          details
                                      Document     at the Diecks’
                                                1084-19           house. After
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                                                                                 11shootout,
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authorities would con scate a tidy arsenal of weaponry at the residence, including 10 handguns,
one Norinco SKS ri e, two ghting knives and numerous boxes of ammunition.

Moreover, Diecks told authorities that for several months leading up to the shooting, a Hells
Angels prospect would ride past his house and “[point] his ngers at him simulating a weapon,”
according to a news story that ran in the Chino Valley Review on September 15, 2010.

The volatile air-mixture of suspicion and tension almost certainly informed an incident Saturday
morning when a group of three Hells Angels prospects – later identi ed as Scott, Bruce
Schweigert and Robert Kittredge – crossed paths at a nearby Circle K with a pair of Vagos
associates named Alfred Azevedo and Clay Messina. Yavapai County Superior Court documents
show that Azevedo lived in Kingman at the time and was a “hang-around” – that is, a Vagos
gad y with aspirations of becoming a prospect.

Azevedo – whose version of the events gured prominently in a Sheriff’s report – told
investigators that one of the Hells Angels “approached him and asked if he was a Vagos.” That
was the extent of the encounter – a surveillance video provided to authorities con rms that no
physical confrontation occurred – but it evidently rattled Azevedo and Messina to the extent that
a phone call was made to the Diecks residence alerting the Vagos to the effect that “the Hells
Angels were trying to get them,” according to the report.

Evidently, the summons was taken to heart. Shortly after the phone call, a convoy of Vagos bikers
left the Diecks residence and scrambled eastbound down Road 3 in Chino Valley toward the Circle
K. Finding no Hells Angels, they continued westbound up Road 4, making a wide loop that would
take them past the Hells Angels residence on their way back to the Vagos house.

And that’s when MC mayhem broke loose. According to a report led by Detective Zavos, a Vagos
biker named Bob Blankenship – who held the rank of Sergeant-of-Arms for the Tri-State Vagos –
was shot as he executed a U-turn in front of the old Hells Angels clubhouse. The Vagos returned
  re, wounding Hells Angel biker Kevin Christensen in the abdomen. (None of the ve injuries
from the battle was life-threatening.) The outnumbered Angels retreated into the house, where
the re ght continued for approximately 10 minutes.

The Yavapai County Attorney’s case against the Hell Angels chugged along in appeals court until
May, when a sensational bit of information emerged about one of the key witnesses in the
shootout. Alfred Azevedo, the Vagos hang-around who summoned the cavalry after the Circle K
incident, was at the time also a con dential informant for GIITEM. And a scorned wannabe Hells
Angel to boot.

According to documents led in Yavapai County Superior Court, Kingman-based GIITEM
Detective John Morris started using Azevedo to spy on the Vagos in May 2010. As a “paid reliable
informant,” Azevedo had previously worked for law enforcement entities and was known to
provide sound information about underworld dealings.
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           Case 3:17-cr-00533-EMC Document 1084-19 Filed 06/29/20 Page 12 of 29
Page Break
 “[Azevedo] was hanging out at Bike Night quite a bit, which was a Wednesday night event in
Kingman,” Morris told defense attorneys in an hour-long interview. “And he ended up running
into one of the Vagos members that lived in Kingman, went to the guy’s shop the next day, and
within, I don’t know, an hour… was invited to the international Vagos run in Parker. So that was
pretty much how easy it was.” As Azevedo’s control of cer, Morris was responsible for monitoring
his activity and debrie ng him. Consequently, the lawman was alarmed when word trickled up to
Kingman about the gun battle in Chino Valley.

“I was worried about [Azevedo] being involved in the shooting,” Morris recalls. Upon hearing the
news, he jumped in his car and high-tailed it to the scene of the crime, alerting the lead detective,
Zavos, that he had an informant embedded in the Vagos.

Presumably to protect Azevedo’s con dential status, Zavos never disclosed the nature of the
hang-around’s involvement with GIITEM during the initial grand jury evidentiary hearing in
November. The facts only came to light in May after a court-ordered sheriff’s of ce report. By that
time, Azevedo was no longer useful as an informant, having helped Morris execute a Vagos-
related fraud case in Kingman. In other words, his cover was blown. “[The fraud case] pretty much
let the cat out of the bag,” Morris says.

Citing ethical rules, both Yavapai County Attorney Dana Owens and defense counsel Gaxiola
declined to comment on the Azevedo matter, but the presence of a GIITEM asset in the case does
invite some second-guessing. In the wake of the shooting, law enforcement obviously sought to
preserve their Vagos informant. Might that have skewed the case against the Hells Angels? And
what about Azevedo’s motives? According to Morris, Azevedo tried to “hang out with the Hells
Angels” in Kingman before courting the Vagos, but they “kept kind of just shunning him.” Was he
bitter over the slight? Could he have lit the powder keg on Yuma Drive by misrepresenting the
Circle K encounter?

As re ected in their police interviews, the Vagos maintain that the shootout was a premeditated
event on the part of the Hells Angels. Justin Kaufman, a Vagos hang-around from Mesa who was
driving his black Range Rover near the crime scene, told Sheriff’s Of ce investigators that the
Angels had been planning the attack “for a while.”

All factors for a jury to weigh in trial, if a trial ever happens. As this issue went to press, the case
was still mired in appeal and pre-trial litigation. A joint-motion to dismiss the charges against
the Hells Angels was pending.

Whatever the outcome in the Chino Valley case, Arizona will be left with the same uncertain
outlaw-biker predicament: One large, entrenched biker brand, very well known to the public, and
a smaller but fast-growing challenger, signi cantly less well known. And neither looks to back
down.


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Phoenix of ce says, citing the popularity of the biker-themed cable show The Sons of Anarchy as
one explanation. “The Vagos got a foothold in Mohave County and now they’re in Phoenix, and
that indicates they’re trying to make inroads.”

How will the Hells Angels respond? What will happen the next time a group of guys wearing the
death-head patch catches sight of a sea of muscular-Loki-green, or vice versa? With Valley-area
chapters and clubhouses in Phoenix, Mesa and Cave Creek, the Angels maintain they’re not the
belligerent party. Of cially, they say the Arizona rocker is a moot issue. “We don’t enforce
anything like that,” Koepke says. “That’s the old mentality. People are free to wear whatever
patch they like.”

Law enforcement con rms that the Hells Angels appear to have loosened up their bottom rocker
policy. Milam reports that members of the Mongols Motorcycle Club – another traditional Hells
Angels enemy – have been sighted wearing the Arizona rocker in Mesa, and that two Hells
Angels-af liated clubs, the Hooligans and the Sons of Hell, recently began wearing the Arizona
rocker with the Hells Angels’ blessing.

“That occurred in April, so we’ll see if that’s a change in philosophy on the Angels’ part.” Milam
says.

Still, Milam – whose declined to estimate the number of Vagos operating in greater Phoenix,
other than to say “signi cant” – predicts that Chino Valley is just the tip of the iceberg: “There’s
still gonna be a turf battle regardless of who wears what.”

For the Arizona Hells Angels, the changing outlaw-biker landscape presents an age-old dilemma
for powerful men and alpha-dominant organizations, of dynasties stretching from ancient Rome
to Michael Jordan’s Chicago Bulls – i.e., the challenge of holding the center. Of staying on top.

How the Hells Angels choose to handle the dilemma may well determine how close the turf battle
comes to the Valley’s doorstep. “It’s a tough predicament,” one longtime member concedes.
“We’re the only ones with anything to lose in this whole shebang.”




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    U.S.
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    Worst California biker feud in decade erupted at Starbucks

    Jason Kandel



    LOS ANGELES (Reuters) - A turf war between the Hells Angels and a rival motorcycle gang
    that erupted outside a California Starbucks shop last year has left several men dead, wounded
    or missing in three states, stirring fears of more bloodshed.




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    Cesar Villagrana, 36, of Gilroy, California is seen in this booking photograph released to Reuters on October 26, 2011.
    Villagrana was with Jeﬀrey "Jethro" Pettigrew, leader of the Hells Angels chapter in San Jose, California, when a rival gang
    member shot Pettigrew to death on September 23 2011 in a casino in Sparks, Nevada. REUTERS/Washoe County Sheriﬀ's
    Oﬃce



    Ranked by law enforcement as the most severe clash of two California-based biker groups in
    nearly a decade, the spate of violence turned deadly last month when it spilled into Nevada
    with a brawl and shooting among members of the Hells Angels and Vagos motorcycle clubs.


    The president of the Hells Angels’ San Jose, California, chapter, Jeﬀrey “Jethro” Pettigrew, 51,
    was shot to death, and one Vagos member was wounded in the melee at John Ascuaga’s Nugget
    hotel and casino in Sparks. A second Vagos member was wounded in a drive-by shooting the
    next day at the site of a nearby motorcycle rally in town.


    The Pettigrew killing — coming 11 months after a gunﬁght between the two gangs in Arizona
    that left ﬁve people wounded — in turn sparked tensions within the Hells Angels’ ranks that
    led to yet another slaying in California, authorities say.


    “There have been concerns about this rivalry for some time,” said Graham Barlowe, resident
    agent in charge of the Sacramento oﬃce of the U.S. Bureau of Alcohol, Tobacco, Firearms and
    Explosives.


    The last California biker feud of similar proportions grew out of a 2002 casino riot in Laughlin,
    Nevada, between the Hells Angels and another group known as the Mongols, Barlowe said. At
    least three bikers died as a result of that conﬂict.


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    DEAD OR ALIVE

    The latest casualty of the Hells Angels’ recent battle against Vagos actually was inﬂicted by one
    of their own.


    At Pettigrew’s funeral in California weeks after he was slain in Nevada, his close friend and
    sergeant-at-arms of the San Jose chapter, Steven Tausan, 52, was shot and killed by a fellow
    Hells Angel in an apparent quarrel among club members.


    A police source familiar with the investigation said Tausan and others confronted the accused
    gunman, Steve Ruiz, over his perceived failure to have protected Pettigrew during the Nugget
    casino brawl, prompting Ruiz to pull a gun on Tausan.


    A group of bikers then pounced on Ruiz as thousands of mourners streamed out of the
    cemetery, preventing police oﬃcers at the funeral from making an arrest, San Jose police
    spokesman Jose Garcia said.


    In the end, it was unclear whether the bikers who descended on Ruiz did so to subdue him,
    beat him or help him escape, but witnesses said he was whisked away in a car, Garcia said.



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    Suspecting that Ruiz may have been killed at the scene and his body dumped into Pettigrew’s
    grave, police later obtained a search warrant to dig up the burial site, but they found no trace
    of Ruiz, Garcia said.


    Last week, San Jose police received a tip that Ruiz was alive and hiding out in the northern
    California city of Stockton, but he was believed to have slipped away after investigators
    searched a home there to no avail on Saturday.


    Garcia said authorities now believe Ruiz is on the run with a current or former girlfriend,
    noting that he has family and associates in Arizona and New York.


    The recent bloodshed can all be traced to last year’s push by Vagos, founded in the 1960s in a
    Southern California desert community, into the northern coastal town of Santa Cruz, long
    claimed as Hells Angels territory, police said.




    CAFFEINE FOR BIKERS

    Tensions boiled over in January 2010, when members of the rival gangs, some wielding ball-
    peen hammers, fought outside a Santa Cruz Starbucks before scattering as police arrived.


    “It was all about who would be allowed to hang out at the Starbucks downtown,” Santa Cruz
    Deputy Police Chief Steve Clark said. “The Vagos brazenly came in and tried to cement their
    presence. It was a pretty strong play on their part to establish themselves as the premiere
    club.”




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    Ernesto Manuel Gonzalez is pictured in this September 30, 2011 booking photograph released by the San Francisco Poli…



    He added: “Only in Santa Cruz would you have biker wars over who’s going to control
    pumpkin spice lattes.”


    Seven months after the Starbucks ambush, violence between the two groups ﬂared again in a
    gunﬁght in August 2010 that left ﬁve people wounded and led to 27 arrests in the northern
    Arizona town of Chino Valley.


    The U.S. Justice Department has classiﬁed both the Hells Angels and Vagos as outlaw gangs
    deeply involved in drug and weapons traﬃcking, as well as extortion, money laundering, theft
    and various violent crimes.


    The Hells Angels, by far the larger and better known of the two, was founded in 1948 in
    Fontana, California, and has since established over 230 chapters with an estimated 2,000 to
    2,500 members worldwide, the government says.


    The organization denies its involvement in criminal activity and argues the club should not be
    blamed for the illegal actions of individual bikers.


    Members insist the overwhelming majority are law-abiding citizens who share a love of
    powerful motorcycles, especially Harley-Davidsons and choppers, and point to their
    prominent role in certain charity events as evidence that their outlaw reputation is exaggerated
    by the media.


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    Karen Snell, a San Francisco-based lawyer who has represented a number of Hells Angels
    members, said Pettigrew and Tausan, for example, were “family guys.”


    “They made honest livings. They worked hard and were responsible,” she told Reuters.


    Police have arrested two people in connection with last month’s casino brawl, including
    Ernesto Manuel Gonzalez, 53, a Vagos member suspected in Pettigrew’s slaying.


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                    NEWS


                    Video of Hells Angels, Vagos fight
                    shown

                    By LEAH DEANDA |
                    PUBLISHED: December 18, 2014 at 12:00 a.m. | UPDATED: August 23, 2018 at 12:00
                    a.m.




                    LAKEPORT &GT;&GT; Jurors were given their first viewing of a series of video
                    clips depicting the altercation between Vagos and Hells Angels motorcycle club
                    members at Konocti Vista Casino, the incident that brought about the trial.

                    District Attorney Deputy Art Grothe walked the courtroom through all 27 clips
                    originally collected by Sheriff Frank Rivero from the casino”s surveillance footage
                    following the incident. Lake County Sheriff”s Office (LCSO) then-detective and
                    current Sgt. John Gregor, who led the investigation of the case, narrated the
                    happenings of each clip with Grothe.

                    The fight took place at approximately 1:22 p.m. on June 4, 2011, but the first
                    handful of clips showed events from as early as 10:30 a.m. and focused on the
                    Hells Angels” booth at the tattoo convention in the Konocti Vista Casino (KVC)
                    banquet room. A total of seven clips preceded Vagos members Michael Burns”
                    entrance into the casino.

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                you collected from start to finish?” Grothe asked Gregor. “Even the dull bits?”
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                    “Yes,” Gregor replied.
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                    All three defendants — John Johnson, Nicolas Carrillo and Timothy Bianchi —
                    could be seen milling around the booth in early footage and there certainly were
                    some clips lasting as long as 5 minutes or more appearing to lack relevant activity.
                    Grothe intermittently asked Gregor questions, including a few about the
                    significance of the number 81 and the colors red and white, which are associated
                    with the Hells Angels Motorcycle Club (HAMC).

                    David Dabbs, another HAMC member involved in the altercation, was also
                    introduced to the jury by name for the first time. Dabbs has been at large since a
                    warrant for his arrest was issued in 2011 and his name has scarcely been
                    mentioned in court proceedings.

                    Nearing the time of the altercation, Grothe pointed out that Bianchi and Dabbs had
                    both taken off either their long-sleeved shirt or sweatshirt by 1 p.m., still 16
                    minutes before Burns made his first alleged appearance at the casino. Grothe
                    later noted the rainy weather, as if to infer the removed the articles of clothing in
                    order to prepare for a tussle.

                    Burns was shown entering the casino at 1:16 p.m. and heading straight for the
                    door of the banquet room. At 1:19 p.m., Christopher Perkins, another Vagos
                    member involved in the fight, entered the banquet room.

                    Perkins and Burns are seen casually strolling through the room, perusing the
                    booths. Burns and Dabbs are shown passing by each other at least once, if not
                    twice, but don”t interact.

                    At 1:21, Dabbs, Bianchi, Carrillo and Johnson are shown together at the Hells
                    Angels booth.

                    Suddenly, just before 1:22 p.m., Burns and Perkins walk back into the main room
                    of the casino, followed by Bianchi and Dabbs, and all four parties exit double
                    doors into the KVC foyer.

                    With the men closely grouped together, it”s difficult to tell precisely from the video
                    what happened, except that almost immediately after entering the foyer, Bianchi
                    threw the first punch.

                    While the fight is under way, Johnson appears to casually walk into the main
                    casino room with a hand in his pocket. Upon seeing the fight and with Carrillo
                    following, both HAMC members join the fight.

                    Security rushes in as Bianchi and Burns are on the ground. Less than a minute
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                before Bianchi”s first punch was thrown, the brawl was broken up.
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                    Being separated from the tangle by two security guards, Perkins is seen struggling
                    to get back in and at one point his hand appears to make contact with a guards”
                    neck.

                    Security guards also come in with a mop cart, supposedly to mop up blood, as
                    Burns makes it to his feet. His face is streaked with blood but he is otherwise
                    under enough control to stand and steadily walk out of the casino.

                    Perkins and Burns are shown leaving the casino just as LCSO Sgt. Gary Frace
                    arrives. Meanwhile, Bianchi, Johnson, Carrillo and Dabbs make it back to their
                    booth and other members begin packing up their support gear.

                    In the last hour of the trial day, attorney Jai Gohel, representing Bianchi, began his
                    cross-examination of Gregor.

                    At Gohel”s prompting, Gregor said he had been aware of the incident on May 14,
                    2011 when Rivero attempted to block Hells Angels members” entry into Lake
                    County when he began participating in the investigation of the KVC fight.

                    “As far as I knew, they weren”t related to each other at all,” Gregor said of the two
                    incidents.

                    Asked if he ever investigated how the Hells Angels were invited to the KVC tattoo
                    convention, Gregor said he “never looked into that.” He also affirmed a LCSO
                    deputy had said the casino didn”t want to give up their surveillance video clips to
                    the office, although Rivero was able to quickly get a hold of them.

                    Asked if he ever went back to KVC to request all the videos from the time of the
                    fight be preserved, Gregor denied doing so.

                    “So whatever you got from Sheriff Rivero was what you worked with?” Gohel
                    asked.

                    “Yes,” Gregor replied.

                    Gregor also said he didn”t know if Burns had made an appearance at the casino
                    before 1:16 p.m.

                    With the day ending, the cross-examination of Gregor was continued and will be
                    heard this morning at 9 a.m. Rivero has also been subpoenaed to appear today as
                    a witness.


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                                                                                                               near Truckee         Page 23 of 29
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     Motorcycle gang member fatally shot on I- 80 near Truckee
     Crime      FO LLO W C RI M E   | September 26, 2016


     Staff and wire reports



     TRUCKEE, Calif. — A motorcyclist was shot to death on Interstate 80 near Truckee on Saturday, prompting authorities to close the
     highway for several hours to investigate.

     Of cials with the California Highway Patrol Truckee of ce said three motorcyclists rode up to the victim — identi ed Monday as
     Jeffrey Sterling Duke, 57, of Georgetown, Calif. — at about 4 p.m. Saturday and red gunshots before taking off.

     Duke was shot “multiple” times, according to CHP, and died at the scene.

     The motorcyclists were traveling westbound, west of Overland Trail, located roughly a half hour west of Reno.

     CHP Of cer Pete Mann told the Sacramento Bee  the victim was associated with the Vagos biker gang. Investigators were trying to
     gather information about the assailants and were asking witnesses to come forward.


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     According to a Monday statement from CHP, of cials said it has yet to be determine if the shooting is motorcycle gang-related.

     Westbound lanes of the interstate were closed at the Nevada state line, causing traf c to back up for miles.

     Thousands of people on motorcycles were in the region this past weekend, mainly in downtown Reno, for various events associated
     with the Street Vibrations Fall Rally.

     Five years ago during Street Vibrations, members of the Vagos and Hells Angels gangs exchanged gun re during a deadly brawl on the
      oor of a casino in nearby Sparks, Nev.

     This year, outside of the fatal drive-by shooting on I-80, Street Vibrations was rather tame, according to the Reno Police Department,
     which made 11 arrests this weekend, one for a felony.

     “This year’s Street Vibrations event, compared to last year, was again quite busy based on the number of people in the downtown
     venue,” RPD Lt. Rob Larson said in a statement. “Reno Police thankfully saw no major incidents related to the event, and our presence
     inside the venue was well received by tourists and vendors who commented on how safe they felt having Reno PD there.

     “The crowd’s interaction with our of cers was very positive, and overall, the event was successful from a public safety standpoint.”




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    Hawaii News (https://www.westhawaiitoday.com/category/hawaii-news/)


   Man gets 5 years in Keaukaha stabbing
   By JOHN BURNETT Hawaii Tribune-Herald | Monday, October 19, 2015, 6:48 p.m.



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   A 47-year-old Ocean View man described by a prosecutor as “the leader of the Hells Angels local
   club” was sentenced Friday to ve years in prison for a stabbing last year at a popular beach in
   Keaukaha.

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   A 47-year-old Ocean View man described by a prosecutor as “the leader of the Hells Angels local
   club” was sentenced Friday to ve years in prison for a stabbing last year at a popular beach in
   Keaukaha.

   Hilo Circuit Judge Greg Nakamura also ordered Paul Gibson to make restitution of $5,629.49 to
   reimburse medical expenses incurred by David Coombes, who was stabbed 12 times during the
   May 10, 2014, altercation on a side road close to James Kealoha Beach Park, better known as “4-
   Mile.”

   In a deal with prosecutors, Coombes pleaded no contest Aug. 13 to second-degree assault and
     rst-degree terroristic threatening. He originally was charged with attempted second-degree
   murder, two counts of terroristic threatening, ve rearms o enses, resisting an order to stop and
   failure to provide a DNA sample to law enforcement.

   Deputy Prosecutor Joseph Lee said the case came down to “power and perks.” He said Gibson, who
   was then a prospect for the Oahu Hells Angels’ chapter, took it upon himself to tell Coombes, then
   41, and his wife, Alicia Jeremiah-Coombes, to leave a memorial gathering for a deceased biker at
   the beach.

   “The reason that the Coombes were not welcome … is because of the defendant’s attitude toward
   David Coombes,” Lee told the judge. “David Coombes is a former member of the Vagos Motorcycle
   Club on the mainland and the defendant knew this. … The defendant decided he was going to
   show the power that he had, or that he believed he had, and force the Coombes leave.”

   Gibson’s attorney, Michael Zola, acknowledged his client told the Coombeses to leave, but said the
   altercation
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   “We’re looking at a mutual a ray gone wrong … and Mr. Gibson has responsibility in his role in
   that,” Zola told the judge. “And what happened after that is that Mr. Coombes, who is a trained
    ghter at BJ Penn’s gym and is a much heavier guy, got the better of him and he got him on the
   ground. … The underlying premise here is that Mr. Gibson was being choked out and decided,
   whether rightly or wrongly, that he needed to pull out his pocketknife and stop (Coombes) from
   killing him.”

   The couple, who maintain the attack was unprovoked, said Gibson pointed a handgun at Alicia
   Jeremiah-Coombes. A loaded black .22-caliber semiautomatic pistol was found later in some
   bushes along Apapane Road in Keaukaha, but Gibson denies having anything to do with the
   weapon.

   “The defendant insists that that rearm was planted by Alicia Coombes,” Lee said. “It is interesting
   to point out that while the defendant denies possessing or touching that rearm, his DNA, the
   defendant’s DNA was found on the rearm. … Nowhere on that rearm was the DNA of Alicia
   Coombes found on that rearm.”

   Gibson, who since has become a full-patch member of Hells Angels, spoke brie y. Turning to the
   Coombeses, he said, “I’ve had a lot of time to consider … the e ect that it had on the Coombes and
   the negative impact it had on them and my own family, and I do accept responsibility for my part in
   this confrontation.”

   “Is there anything else you’d like to say?” asked Nakamura.

   “No,” Gibson replied.

   Zola asked the judge to consider probation with intermittent jail or to delay Gibson’s imprisonment
   so he can nish contracted work as a plumber “and provide for his family.”

   Nakamura ordered immediate incarceration, noting “the seriousness of the o enses,” and Gibson’s
   wife, Christie, wept openly.

   “You do have a prior criminal history,” the judge said. “The court believes that prison terms are
   appropriate for the purpose of punishment and the deterrence of others. And I think these
   considerations would override any concerns that one would have for provision for your family.”

   Alicia Jeremiah-Coombes also shed tears after the hearing.

   “This is sad. Everybody’s a ected by it. Everybody. Not only me and my husband, but also them.
   But I’m glad the judge saw what needed to be done,” she said.

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   “Hopefully, he’ll go in a di erent direction and not hurt somebody else,” David Coombes said.

   Email John Burnett at jburnett@hawaiitribune-herald.com.

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     Carson City man arrested in Yuba City shooting
     Crime | October 6, 2016


     Nevada Appeal staff report



     A Carson City man has been arrested in connection with a California drive-by shooting.

     Francisco “Cisco” Fernandez, 34, was arrested Wednesday around 8 p.m. after deputies initiated a traf c stop near the 4600 block of
     Highway 50. Fernandez was arrested on suspicion of felony fugitive from justice after deputies discovered the man had a warrant for
     his arrest in Yuba City, Calif., for attempted murder.

     The shooting happened Sept. 14 at 8 21 p.m. after the Yuba City Police Department responded to reports of shots red. There, of cers
     found an adult male motorcyclist lying on the road, of cials with Yuba City PD said.

     Last week The Carson City Sheriff’s Of ce and Yuba City Police Department executed search warrants on two residences and a
     business in Carson City and Yuba City, Calif., Sept. 25 to attempt to locate evidence in a drive-by shooting that occurred in Yuba City.

     The shooting may possibly be linked to the Hells Angels motorcycle gang.

     Sheriff Ken Furlong said they had obtained the evidence they were looking for during the warrant execution, however declined to
     comment on what those items were. At the time of the execution, no arrest warrant had been led for Fernandez.

     Fernandez owns property both in Yuba City and Carson City as well as a business in Carson. The search warrant on Sept. 25 was
     executed at the Tanglewood Village apartments and the Highway 50 Nautical Motorcycles shop.

     Bail for Fernandez was set at $500,000.




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   SACRAMENTO



   Rival bike clubs start ﬁght at Sac
   Convention Center
   Three people were arrested for assault.




       Three people were arrested after a ﬁght broke out at the Sacramento Convention Center on Saturday, Jan. 17, 2015.




   Author: KXTV Staff
   Published: 5:50 PM PST January 17, 2015
   Updated: 5:50 PM PST January 17, 2015

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   A ﬁght broke out at the Sacramento Convention Center between two rival motorcycle clubs
   Saturday afternoon.

   Sacramento police said members of the Hells Angels and Vagos clubs got into a ﬁst ﬁght
   during the Easy Rider Motorcycle show. At some point during the ﬁght a loaded gun fell to the
   ground, but no shots were ﬁred.




   When oﬃcers arrived at the scene, they used pepper spray to subdue the subjects.

   Three people were arrested for assault.




https://www.abc10.com/article/news/local/sacramento/rival-bike-clubs-start-fight-at-sac-convention-center/103-183544663                                  1/2
